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                        IN THE UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF ARKANSAS
                                 WESTERN DIVISION

UNITED STATES OF AMERICA                                                                  PLAINTIFF

v.                                   NO. 4:16CR00072-03 JLH

DARRYL DAYON MADDEN                                                                     DEFENDANT

                                               ORDER

       Darryl Dayon Madden has filed another motion for pretrial release. Document #126. In that

motion, he recites numerous facts regarding his present health condition. He says, among other

things, that his condition has worsened, that he is barely able to walk, that he is unable to dress

himself, and that he needs assistance to remove his clothes in order to urinate or defecate. The Court

directs the United States to file a response on or before January 11, 2017, after investigating to

determine whether the facts alleged in Madden’s current motion are accurate. If those facts are

accurate, the United States should, if it continues to oppose Madden’s motion, explain why those

facts do not justify pretrial release. If those facts are not accurate, the United States should provide

evidence with its response or request an evidentiary hearing at which the facts can be determined.

       IT IS SO ORDERED this 29th day of December, 2016.



                                                       _________________________________
                                                       J. LEON HOLMES
                                                       UNITED STATES DISTRICT JUDGE
